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                          IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

PATRICK DODD,
     Plaintiff,                                               Case No.:

v.                                                            JURY DEMANDED

GREYHOUND LINES,INC., a Texas
corporation, and FIRSTGROUP AMERICA,
INC., a Delaware corporation,
          Defendants.

                                     NOTICE OF REMOVAL

          Pursuant to 28 U.S.C. $$ 1446 and   l44l and with full reservation of any and all defenses,

objections, and exceptions, including but not limited          to   objections   to    service, personal

jurisdiction, venue, and statute of limitations, Defendants GREYHOUND LINES, INC. and

FIRSTGROUP AMERICA, INC., provide this Notice of Removal of this                      civil action to   the

United States District Court for the Northern District of Illinois, and respectfully represent that:

          1.       On or about February 28, 2018, Plaintiff, PATRICK DODD, commenced an

action    in the Circuit    Court   of Cook County, Illinois, captioned       PATRICK DODD v.

GREYHOUND LINES, NC. and FIRSTGROUP AMERICA, INC.,2018 L 002125. Pursuant

to 28 U.S.C. $ 1aa6(a), Plaintiff s Complaint is attached as part of ExhibitooA" to this Notice of

Removal.

          2.       Plaintiff claims that on January 12,2078, Defendants' misconduct and negligence

resulted in threats against Plaintiff s life and caused injury to Plaintiff s physical and emotional

well-being. See Complaint at 'l|fl 1-9, attached as Exhibit   A.   Plaintiff seeks to recover damages

for the alleged intentional and negligent acts, including emotional suffering, loss of enjoyment         of




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life, inability to function      as a whole person, lost wages, and impaired earning   capacity. Id. at\fl

63 &,87.

          3.         A summons and copy of the Complaint were       served on Defendants, on March 13,

2018. Accordingly, this Notice of Removal is timely.

          4.         Pursuant to 28 U.S.C. $ 1441, Defendant seeks removal of Cook County Circuit

Court Case No. 2018          L   002125 to the United States District Court for the Northern District   of

Illinois, Eastern Division. 28 U.S.C. $ 97. As will be shown more fully below, this Court             has


original jurisdiction pursuant to 28 U.S.C. $ 1332(a) because there is complete diversity of

citizenship between Plaintiff, a citizen of Tennessee, and Defendants Greyhound Lines, Inc. and

Firstgroup America,         Inc.   Further, the amount in controversy, exclusive of interest and costs,

exceeds the requisite sum          of $75,000.00. Removal is appropriate   as Defendants seeks removal

within thirty (30) days after service of Plaintiff s Complaint on Defendant on or about March           13,


2018, and      it   has been less than one year since this action was originally filed on February 28,

2018. See 28 U.S.C. $ 1446(b). Accordingly, this action may be removed to this Court.

                                        DIVERSITY JURISDICTION

                                           Diversitv of Citizenship

          5.         The controversy between Plaintiff and Defendants here is a controversy between

citizens of different states.

          6.         Upon information and belief, Plaintiff, Patrick Dodd, is a resident and citizen of

the State of Tennessee.

          7.         At all times relevant to this matter, Defendant, Firstgroup America, Inc. was    and

is a citizen of Delaware and Ohio, as its state of incorporation is Delaware and the location of its

principal place of business is at 600 Vine Street, Suite 1400, Cincinnati, OH, 45202.                 See




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Corporation File Detail Report from the Illinois Secretary of State, attached as Exhibit B.

Defendant, Firstgroup America, Inc. was not, at the time of commencement of this action, nor at

any time thereafter, acitizen of the State of Illinois.

          8.       At all times relevant to this matter, Defendant, Greyhound Lines, Inc. was and is a

citizen of Delaware and Texas, as its state of incorporation is Delaware, and the location of its

principal place of business is at 350 North St. Paul St., Dallas, Texas. Corporation File Detail

Report from the Illinois Secretary of State, attached as Exhibit           C.   Defendant Greyhound

Lines, Inc. was not, at the time of commencement of this action, nor at any time thereafter, a

citizen of the State of Illinois.

          9.       There are no other parties to this action. There is diversity of citizenship between

Plaintiff and Defendants.

                                        Amount in Controversv

          10.      The monetary jurisdictional prerequisite to federal jurisdiction under 28 U.S.C.

$1332(a) is satisfied.

          11.      Plaintiffs Complaint does not specifically identify the amount of damages she

seeks   to recover in this action. In such a case, "a good-faith estimate of the stakes is acceptable

if it is plausible   and supported by a preponderance of the evidence." Kincaid v. Menard, Inc.,

No. 13 C 7279,2014 WL 1715503, at            *l   (N.D. Ill. April 30,2014) (quoting Oshana v. Coca-

Cola Co.,472 F.3d 506,         5ll   (7th Cir. 2006)). o'Once the defendant in a removal case has

established the requisite amount       in controversy, the plaintiff can defeat jurisdiction only if it

appears    to a legal certainty that the claim is really for less than the jurisdictional amount."

Kincaid,2014WL 1715503 at *1 (quotingOshana,472F.3d at 511).




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            12.    According to Plaintiffs Complaint, while riding as a passenger on a Greyhound

bus traveling from Milwaukee to Chicago, he suffered mental and emotional abuse as a result         of

verbal threats against his life by a fellow passenger Margarito Vargas-Rosas, a non-party. See

Compl. at lffl 1-9.

            13.    Defendants expressly deny that Defendants are liable to Plaintiff under any theory

ofrecovery.

            14.    However,   if Plaintiff   could recover from any defendant, Defendants estimate in

good faith that the amount required to satisfy Plaintiff s demands in full exceeds $75,000, given

the damages that Plaintiff is generally seeking in his Complaint. See Kincaid,2014 WL 1715503

at   *l    (quoting Oshana,472 F.3d at        5ll).   Defendants estimate that based on this being an

emotional distress case, that there is a reasonable probability that the amount in controversy will

exceed $75,000.00, based on Defendants collective experience in defending such cases.

            15.    Therefore, this Court has jurisdiction over this matter pursuant     to 28   U.S.C.

$ 1332 because the parties hereto are completely diverse, meaning that no Defendant is a citizen

of the      same state as Plaintiff, and Defendants estimate       in good faith that the amount-in-
controversy, exclusive of interest and costs, exceeds the sum of $75,000.

            16.    Because this Court has original jurisdiction over this action pursuant to 28 U.S.C.


$ 1332, this action is removable pursuant to 28 U.S.C. $ 1441 and subject to 28 U.S.C. $ 1446.

            17.    As required by 28 U.S.C. $ 1446(b), this Joint Notice of Removal is timely filed

in this Court within thirty (30) days after service was effected on Defendants.

            18.    Venue of this removed action is proper pursuant to 28 U.S.C. $ laal(a) because

this Court is the United States District Court for the district and division embracing the place

wherein the removed action was pending: the Circuit Court of Cook County, Illinois.




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          t9.      Pursuant   to 28 U.S.C. $ 1441, all Defendants consent to the removal of this

action.

          20.      Pursuant   to 28 U.S.C. $   1446(d), promptly after     filing this Joint Notice of

Removal, Defendants       will give written notice of this filing to all parties   and   will file a copy of

the Notice of Removal and Exhibit A with the Clerk of the Court of the Circuit Court of Cook

County, Illinois.

          WHEREFORE, Defendants pray that the above numbered and entitled cause on the

docket of the Circuit Court of Cook County, Illinois, be removed from that court to the docket           of

the United States District Court for the Northern District of Illinois.

                                                 Respectfully submitled,

                                                 LEWIS BRISBOI


                                                         W. LaClair

Timothy J. Young (ARDC No. 6192231)
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                                 CERTIFICATE OF SERVICE

          I hereby certifu that on April 6, 2018,I   served a copy of the foregoing NOTICE OF

REMOVAL via electronic filing in the ECF system. I also served a copy by U.S. Mail, first-

class, postage prepaid, on the following individuals who may not be in the ECF system:



                                        Alfred K. Munay II
                                           Edelson PC
                                350 Nonh LaSalle Street, 14th Floor
                                     Chicago, Illinois 60654
                                      Attorney for Plaintiff


                                                                ,'i.   I




                                                      Jordan    LaClair




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